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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                       Case No. 3:16cr42-MCR

KYLE JAMES CORBI
_______________________________/

                       REPORT AND RECOMMENDATION
                        CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Count One of the Indictment. After

cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty plea was knowing and voluntary

and that the offense charged is supported by an independent basis in fact containing

each of the essential elements thereof. I therefore recommend that the plea of guilty

be accepted and that the Defendant be adjudicated guilty and have sentence imposed

accordingly.

Dated:         August 9, 2016.

                                 /s/   Charles J. Kahn, Jr.
                                 CHARLES J. KAHN, JR.
                                 UNITED STATES MAGISTRATE JUDGE
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                         NOTICE TO THE PARTIES

       Objections to these proposed findings and recommendations may be filed
within twenty-four (24) hours after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon the
magistrate judge and all other parties. A party failing to object to a magistrate
judge's findings or recommendations contained in a report and recommendation
in accordance with the provisions of 28 U.S.C. § 636(b)(1) waives the right to
challenge on appeal the district court's order based on unobjected-to factual and
legal conclusions. See U.S. Ct. of App. 11th Cir. Rule 3-1; 28 U.S.C. § 636.




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